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     UNITED STATES OF AMERICA
11
12                     IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13
14     UNITED STATES OF AMERICA,               Case No. 18-CV-8420-RGK (PJW)
15                  Plaintiff,                 NOTICE OF MATERIAL
                                               DEVELOPMENT RE: NEW AUTHORITY
16                      v.                     FROM NINTH CIRCUIT COURT OF
                                               APPEALS
17
          $1,546,076.35 IN BANK FUNDS
18        SEIZED FROM REPUBLIC BANK OF
          ARIZONA ACCOUNT ‘1889, ET AL.,
19
20                  Defendants.

21
22          Plaintiff United States of America (the “government”), by
23   and through its counsel of record, the United States Attorney’s
24   Office for the Central District of California and Assistant
25   United States Attorney Dan G. Boyle, hereby files this Notice of
26   Material Development Regarding New Authority from the United
27   States Court of Appeals for the Ninth Circuit.
28   //
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 1        On August 24, 2020, the Ninth Circuit handed down a
 2   published decision in United States v. Obaid, Case No. 18-56657
 3   (hereinafter “Obaid”), ECF No. 63, affirming the district
 4   court’s denial of a motion to dismiss a civil forfeiture
 5   complaint in United States v. Certain Rights to and Interests in
 6   Shares of Series D Preferred Stock in Palantir Technologies,
 7   C.D.Cal. Case No. 2:17-cv-4446-DSF. A copy of the Obaid Opinion
 8   is attached as Exhibit A to this Notice.
 9        Because Obaid is a significant decision on the nature of in
10   rem forfeiture proceedings, which is an issue implicated by
11   claimants’ recent motions to dismiss [ECF No. 111, 112], and
12   because Obaid was handed down after the government filed its

13   briefs in opposition [ECF Nos. 140, 141 (filed on Aug. 21,

14   2020)], the government files this Notice to alert the Court to

15   this significant new authority, and its relevance to the issues

16   currently before this Court.

17        In brief summary, Obaid discusses at numerous points the in

18   rem nature of civil forfeiture proceedings, and thus is

19   instructive with respect to both pending motions to dismiss:

20        First, with respect to claimants’ motion to dismiss based

21   on Section 230 of the Communications Decency Act [ECF No. 111],

22   as the government argued, Section 230 does not apply because in

23   rem civil forfeiture proceedings provide the government the

24   ability to enforce federal criminal law where there may be no in

25   personam jurisdiction, but criminal assets may nonetheless be

26   seized in rem. [See ECF No. 140, at 15, 18-19]. This point is

27   reinforced by the Court’s holding in Obaid, where the court made

28   clear that in rem forfeiture is available regardless of



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 1   jurisdiction over a potential wrongdoer. See Obaid, Slip Op. at
 2   9 (“Thus in a civil forfeiture proceeding in rem, jurisdiction
 3   [is] dependent upon seizure of a physical object” (internal
 4   quotation marks omitted)); id., at 13 (“jurisdiction over the
 5   person is irrelevant if the court has jurisdiction over the
 6   property.” (internal quotation marks omitted)). Accordingly,
 7   Obaid supports the government’s opposition to the motion to
 8   dismiss on this point.
 9        Second, with respect to Claimants’ motion to dismiss
10   arguing that the operative complaint fails to plead sufficient
11   facts as to certain claimants [ECF No. 112], Obaid is also
12   instructive. The Obaid court analyzed Tennessee Student

13   Assistance Corp. v. Hood, 541 U.S. 440 (2004), which considered

14   in rem jurisdiction over bankruptcy assets, and held that “[a]

15   court’s in rem jurisdiction permits it to determine all claims

16   that anyone, whether named in the action or not, has to the

17   property or thing in question.” Obaid, Slip, Op. at 12. In

18   contrast, claimants’ arguments that a complaint must plead

19   specific, incriminating facts as to each claimant echoes the

20   dissenting opinion in Obaid, a position the majority rejected.

21   Compare Obaid, Slip Op. at 30, (Ikuda, J., dissenting (“This is

22   because all proceedings, like all rights, are really against

23   persons. The only functional difference between an in rem and in

24   personam proceeding is the number of persons affected. (internal

25   quotation marks and citations omitted)), with Majority Op. at 13

26   “jurisdiction over the person is irrelevant if the court has

27   jurisdiction over the property.” (internal quotation marks

28   omitted)).



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 1        Should the Court wish for further briefing on Obaid, or any
 2   related issues, the government is prepared to submit supplemental
 3   briefs or argument as ordered.
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      Dated: August 27, 2020            Respectfully submitted,
 5
                                        NICOLA T. HANNA
 6                                      United States Attorney
 7                                      BRANDON D. FOX
 8                                      Assistant United States Attorney
                                        Chief, Criminal Division
 9
10                                            /s/
                                        DAN G. BOYLE
11                                      Assistant United States Attorney
12                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
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                                  PROOF OF SERVICE
 1
          I am over the age of 18 and not a party to the within
 2
     action.   I am employed by the Office of the United States
 3
     Attorney, Central District of California.         My business address is
 4
     312 North Spring Street, 14th Floor, Los Angeles, CA 90012.
 5
          On August 27, 2020, I served a copy of the Government’s
 6
     Notice of Material Development upon each person or entity named
 7
     below by attaching a copy to an e-mail provided by the receiving
 8
     person or entity per request of the receiving person or entity.
 9
10   TO:
        1. jillkristena@gmail.com (claimant Jill Anderson)
11
        2. troy.larkin@gmail.com (claimant Troy Larkin)
12      3. ramonlarkin@gmail.com (claimant Ramon Larkin)
        4. andrea@beckerandhouse.com (claimant John R. Becker)
13
14        I declare under penalty of perjury under the laws of the
15   United States of America that the foregoing is true and correct.
16        Executed on: August 27, 2020 at Los Angeles, California.
17
                                                    /s/
18                                                 Dan G. Boyle
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